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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

CANVASFISH.COM, LLC,
a Montana Limited Liability Company,

Plaintiff, Case No.: 1:21-CV-03676
Honorable Virginia M. Kendall

Vv.

JOHN DOES 1-10,

Defendants.

 

JUDGMENT

Before the Court is Plaintiff's Motion for Default and Default Judgment. Plaintiff
Cavnasfish.com, LLC (“Canvasfish) initiated this action by identifying Defendants listed on
Schedule A and now seeks entry of Default and Default Judgment against the Defendants
identified at Exhibit 1 to this Order (the “Defaulting Defendants”);

This Court has previously entered a temporary restraining order and preliminary
injunction against the Defaulting Defendants, including a domain name transfer and asset
restraint. Plaintiff has properly completed service of process on the Defaulting Defendants by
completing service consistent with this Court’s prior orders, including email service and
through internet publication, being reasonably calculated under all the circumstances to
apprise the Defaulting Defendants of the pendency of this action and affording them the
opportunity to answer or otherwise defend;

None of the Defaulting Defendants as listed in Exhibit 1 have answered or otherwise
defended in response to Plaintiff's Complaint and the time for answering having expired;

THIS COURT HEREBY FINDS that the Defaulting Defendants are liable for
common law trademark infringement (15 U.S.C. § 1125), willful federal trademark
infringement and counterfeiting (15 U.S.C. § 1114), and copyright infringement (17 U.S.C. §

1

 
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504), as detailed at Exhibit 1;

IT IS HEREBY ORDERED that Plaintiffs Motion for Entry of Default and Default
Judgment is GRANTED in its entirety, that Defaulting Defendants are deemed in default and
that this Judgment is entered against the Defaulting Defendants.

IT IS FURTHER ORDERED that:

Defaulting Defendants, their affiliates, officers, agents, servants, employees, attorneys,

confederates, and all persons acting for, with, by, through, under or in active concert

with them be permanently enjoined and restrained from:

a. using Plaintiff's Canvasfish’s DeYoung Mark or any reproductions, counterfeit
copies or colorable imitations thereof in any manner in connection with the
distribution, marketing, advertising, offering for sale, or sale of any product that
is not a genuine Canvasfish product or not authorized by Canvasfish to be sold
in connection with the DeYoung Mark;

b. reproducing, importing, distributing copies of, making derivative works of, or

 

publicly displaying the DeYoung Works, the copyrighted designs, in any manner

 

without the express authorization of Canvasfish;

c. passing off, inducing, or enabling others to sell or pass off any product as a
genuine Canvasfish product or any other product produced by Canvasfish, that is
not Canvasfish’s or not produced under the authorization, control or supervision
of Canvasfish and approved by Canvasfish for sale under the DeYoung Mark,
and/or the De Young Works;

d. committing any acts calculated to cause consumers to believe that Defaulting
Defendants’ products are those sold under the authorization, control or

supervision of Canvasfish, or are sponsored by, approved by, or otherwise
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connected with Canvasfish;

€. further infringing the DeYoung Mark and/or the DeYoung Works and damaging
Canvasfish’s goodwill; and,

f. manufacturing, shipping, delivering, importing, holding for sale, transferring or
otherwise moving, storing, distributing, returning, or otherwise disposing of, in
any manner, products or inventory not manufactured by or for Canvasfish, nor
authorized by Canvasfish to be sold or offered for sale, and which bear any of
Plaintiff's trademarks, including the DeYoung Mark or any reproductions,
counterfeit copies or colorabie imitations thereof and/or which bear the DeYoung
Works.

The domain name registrars, including, but not limited to, Amazon Registrar, Inc.,
Dynadot, LLC, GoDaddy.com LLC (“GoDaddy”), Name.com, Namecheap Inc.
(“Namecheap”), NameSilo LLC, Wild West Domains, LLC, and Google, LLC, within
five (5) business days of receipt of this Order shall permanently transfer the domain
names identified on Exhibit 1 (the “Domain Names”) to Plaintiffs control, including
unlocking and changing the registrar of record to a registrar of Plaintiff's selection, and
the domain name registrars shall take any steps necessary to transfer the Domain Names
to a registrar of Plaintiffs selection or cancel the registrations and make them inactive;

Those in privity with Defaulting Defendants and with actual notice of this Order,

including any online marketplaces such as Etsy, eBay, or Amazon, and domain name

registrars, shall within five (5) business days of receipt of this Order:
a. Disable and cease providing services for any accounts through which the
Defaulting Defendants engage in the sale of counterfeit and infringing goods using

the DeYoung Mark, including any accounts associated with the Defaulting

 
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Defendants listed at Exhibit 1;

b. Disable and cease displaying any advertisements used by or associated with
Defaulting Defendants in connection with the sale of counterfeit and infringing
goods using the DeYoung Mark;

c. Take all steps necessary to prevent links to the Domain Names identified on
Exhibit 1 from displaying in search results, including but not limited to removing
links to the Domain Names from any search index;

Pursuant to 15 U.S.C. § 1117(c)(2), Plaintiff is awarded statutory damages from each

of the Defaulting Defendants so identified on Exhibit 1 in the amount of $500,000 per

infringement of Plaintiff's DeYoung Mark for willful use of the counterfeit DeYoung

Mark;

Pursuant to 17 U.S.C. § 504, Plaintiff is awarded statutory damages from each of the

Defaulting Defendants so identified on Exhibit 1 for the infringement of Plaintiffs

DeYoung Works;

PayPal, Inc, (“PayPal”), Stripe, Inc., (“Stripe”), any banking institutions, and any other

service providers shall, within two (2) business days of receipt of this Order,

permanently restrain and enjoin any accounts connected to the Defaulting Defendants,
including any accounts owned by or linked to Defaulting Defendants via email
addresses and domain names identified through third party discovery (“Restrained

Accounts”) from transferring or disposing of any money or other of Defaulting

Defendants’ assets.

All monies in the Defaulting Defendants’ restrained financial accounts, including the

Restrained Accounts, are hereby released to Plaintiff as partial payment of the above-

identified damages, and PayPal is ordered to release to Plaintiff (through Plaintiff's

 
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counsel) the amounts from Defaulting Defendants’ PayPal accounts within ten (10)

business days of receipt of this Order.

Until Plaintiff has recovered full payment of monies owed to it by any Defaulting

Defendants, Plaintiff shall have the ongoing authority to serve this Order on PayPal,

Stripe, and other third-party service providers in the event that any new accounts or

assets controlled or operated by Defaulting Defendants are identified. Upon receipt of

this Order, any service providers served with this Order shall, within two (2) business

days:

a. Locate all accounts and funds connected to Defaulting Defendants, including but
not limited to any PayPal, Stripe, and bank accounts;

b. Restrain and enjoin such accounts from receiving, transferring, or disposing of any
money or other of Defaulting Defendants’ assets; and

c. Release all monies restrained in Defaulting Defendants’ PayPal accounts to

Plaintiff as partial payment of the above-identified damages within ten (10)

 

business days of receipt of this Order.

Until Plaintiff has recovered full payment of monies owed to it by any Defaulting

 

Defendants, Plaintiff shall have the ongoing authority to serve this Order on any banks,

savings and loan associations, or other financial institutions (collectively the

“Financial Service Providers”) in the event that any new financial accounts controlled

or operated by Defaulting Defendants are identified. Upon receipt of this Order the

Financial Service Providers shall within two (2) business days;

a. Locate all accounts and funds connected to Defaulting Defendants, including but
not limited to any PayPal accounts;

b. Restrain and enjoin such accounts from receiving, transferring, or disposing of any
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money or other of Defaulting Defendants’ assets; and
c. Release all monies restrained in Defaulting Defendants’ accounts to Plaintiff as
partial payment of the above-identified damages within ten (10) business days of

receipt of this Order.

   
 
 
   

iT IS SO ORDERED.

Dated:  /a.. f -AORYL

 

 

Mt Kendall
pied States District Ft Judge

 
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EXHIBIT 1

 

 
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DATE
SERVED

fionacuz.com 8/30/21

vensestore.com 8/30/21

DeepCruan.com 8/30/21

styletshirts.store 8/30/21

tshirtcheapest.store 8/30/21

customfamilytee.com 8/30/21

bazote.com 8/30/21

allprintaz.com 8/30/21

gocheart.com 8/30/21

kemtshirt.com 8/30/21

FamilyLoves.com 8/30/21

usbeach.co 8/30/21

rageontee.com 8/30/21

onesoulburn.com 8/30/21

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Registered
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infringement)

COPYRIGHT
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trendingtshirt.us
clotheschat.com
coletas.shop
xpanshop.com
palochi.com
caneticstore.com
sosoulburn.com
koreasshop.com
Wanbina.com
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Ivyaping55818 9/3/21 $650,000.00
Robert Tuttle 9/3/21 $650,600.00
jang4070 9/3/21 $650,000.00
zhangyufan623 9/3/21 $650,600.00 :
| Erin Zebrowski 9/3/21 $800,600.00 .

wangyanhua888 9/3/21 $650,000.00

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SangNguyen_ Ds 9/3/21 $950,000.00

leishathurman6070 9/3/21 $800,000.00

 

 

 

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